    Case: 23-10326   Document: 119-1      Page: 1    Date Filed: 05/25/2023


                              No. 23-10326

In the United States Court of Appeals for the Fifth Circuit
                           _____________

Braidwood Management, Incorporated; John Scott Kelley;
Kelley Orthodontics; Ashley Maxwell; Zach Maxwell; Joel
                        Starnes,
                                          Plaintiffs-Appellees/Cross-Appellants,
                                   v.
  Xavier Becerra, Secretary, U.S. Department of Health and
    Human Services, in his official capacity as Secretary of
 Health and Human Services; United States of America; Janet
Yellen, Secretary, U.S. Department of Treasury, in her official
   capacity as Secretary of the Treasury; Julie A. Su, Acting
 Secretary, U.S. Department of Labor, in her official capacity
                    as Secretary of Labor,
                                    Defendants-Appellants/Cross-Appellees.
                           _____________

             On Appeal from the United States District Court
                   for the Western District of Texas
                      Case No. 4:20-cv-00283-O
                          _____________

 Motion For Leave To File Supplemental Memorandum
            And Supporting Declaration
                           _____________

                                        Jonathan F. Mitchell
                                        Mitchell Law PLLC
                                        111 Congress Avenue, Suite 400
                                        Austin, Texas 78701
                                        (512) 686-3940 (phone)
                                        (512) 686-3941 (fax)
                                        jonathan@mitchell.law

                                        Counsel for Plaintiffs-Appellees
      Case: 23-10326      Document: 119-1     Page: 2    Date Filed: 05/25/2023




    Plaintiffs-appellees Braidwood Management Inc. et al. respectfully move for

leave to file a short supplemental memorandum regarding the government’s motion

for a partial stay of the district court’s judgment pending appeal, along with a decla-

ration from Steven F. Hotze, the President, Secretary, Treasurer, and sole member
of the board of Braidwood Management Inc.

    The proposed supplemental memorandum will add one additional observation

for the Court to consider in deciding whether to grant or deny the government’s re-
quest for a partial stay pending appeal: The district court’s final judgment does not

(and cannot) immunize employers or insurers from future statutory penalties under

the Affordable Care Act if the judgment gets vacated or reversed on appeal—even

if those employers or insurers violate the Affordable Care Act while the final judg-

ment is in effect. See, e.g., Edgar v. MITE Corp., 457 U.S. 624, 653 (1982) (Stevens,

J., concurring) (“There simply is no constitutional or statutory authority that per-

mits a federal judge to grant dispensation from a valid . . . law.”). This has several

implications for the government’s motion for a partial stay pending appeal, which

are discussed in the proposed supplemental memorandum.

    We have conferred with counsel for the government and they take no position

on the motion.

                                  Conclusion
    The defendants’ motion for leave to file the attached supplemental memoran-

dum and supporting declaration should be granted.




                                          1
      Case: 23-10326   Document: 119-1   Page: 3    Date Filed: 05/25/2023



                                   Respectfully submitted.

                                    /s/ Jonathan F. Mitchell
                                   Jonathan F. Mitchell
                                   Mitchell Law PLLC
                                   111 Congress Avenue, Suite 400
                                   Austin, Texas 78701
                                   (512) 686-3940 (phone)
                                   (512) 686-3941 (fax)
                                   jonathan@mitchell.law

Dated: May 25, 2023                Counsel for Plaintiffs-Appellees




                                     2
      Case: 23-10326    Document: 119-1    Page: 4    Date Filed: 05/25/2023



                    Certificate of Conference
   I certify that I have conferred with Alisa Klein, counsel for the defendants-
appellants, and they take no position on this motion.


                                     /s/ Jonathan F. Mitchell
                                    Jonathan F. Mitchell
                                    Counsel for Plaintiffs-Appellees




                                       3
      Case: 23-10326     Document: 119-1    Page: 5    Date Filed: 05/25/2023



                        Certificate Of Service
    I certify that on May 25, 2023, this document was electronically filed with the
clerk of the court for the U.S. Court of Appeals for the Fifth Circuit and served
through CM/ECF upon:

Michael S. Raab
Alisa B. Klein
Daniel Aguilar
Attorneys, Appellate Staff
Civil Division
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530
(202) 514-5432
michael.raab@usdoj.gov
alisa.klein@usdoj.gov
daniel.j.aguilar@usdoj.gov

Counsel for Defendants-Appellants

                                     /s/ Jonathan F. Mitchell
                                    Jonathan F. Mitchell
                                    Counsel for Plaintiffs-Appellees




                                        4
      Case: 23-10326    Document: 119-1      Page: 6    Date Filed: 05/25/2023



                      Certificate of Compliance
              with type-volume limitation, typeface requirements,
                          and type-style requirements

1.   This brief complies with the type-volume limitation of Fed. R. App. P.
     27(d)(2) because it contains 206 words, excluding the parts of the brief ex-
     empted by Fed. R. App. P. 32(f ).

2.   This brief complies with the typeface and type-style requirements of Fed. R.
     App. P. 27(d)(1)(E), 32(a)(5), and Fed. R. App. P. 32(a)(6) because it uses
     Equity Text B 14-point type face throughout, and Equity Text B is a propor-
     tionally spaced typeface that includes serifs.



                                            /s/ Jonathan F. Mitchell
                                           Jonathan F. Mitchell
Dated: May 25, 2023                        Counsel for Plaintiffs-Appellees




                                       5
      Case: 23-10326     Document: 119-1     Page: 7    Date Filed: 05/25/2023



            Certificate of Electronic Compliance
    Counsel also certifies that on May 25, 2023, this brief was transmitted to Mr.
Lyle W. Cayce, Clerk of the United States Court of Appeals for the Fifth Circuit,
through http://www.pacer.gov.
    Counsel further certifies that: (1) required privacy redactions have been made,
5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the paper doc-
ument, 5th Cir. R. 25.2.1; and (3) the document has been scanned with the most re-
cent version of VirusTotal and is free of viruses.



                                           /s/ Jonathan F. Mitchell
                                          Jonathan F. Mitchell
                                          Counsel for Plaintiffs-Appellees




                                         6
